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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARIO THOMPSON,

                               Plaintiff,
                                                                      20-CV-8598 (CM)
                      -against-
                                                         ORDER DIRECTING PAYMENT OF FEE
NEW YORK STATE OFFICE OF VICTIM                                OR IFP APPLICATION
SERVICES, ET AL.,

                               Defendants.

COLLEEN MCMAHON, Chief United States District Judge:

         Plaintiff brings this action pro se. To proceed with a civil action in this Court, a plaintiff

must either pay $400.00 in fees – a $350.00 filing fee plus a $50.00 administrative fee – or, to

request authorization to proceed without prepayment of fees, submit a signed IFP application.

See 28 U.S.C. §§ 1914, 1915.

         Plaintiff submitted the complaint without the filing fees or an IFP application. Within

thirty days of the date of this order, Plaintiff must either pay the $400.00 in fees or submit the

attached IFP application. If Plaintiff submits the IFP application, it should be labeled with docket

number 20-CV-8598 (CM).

         The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket. No summons shall issue at this time. If Plaintiff complies with this order, the case

shall be processed in accordance with the procedures of the Clerk’s Office. If Plaintiff fails to

comply with this order within the time allowed, the action will be dismissed.

Dated:     October 16, 2020
           New York, New York

                                                              COLLEEN McMAHON
                                                          Chief United States District Judge
